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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION

C&J ASSOCIATES PEST CONTROL, et al.,                 )
                                                     )
        Plaintiffs,                                  )
v.                                                   )
                                                       CASE NO. 2:05-cv-557-WHA
                                                     )
RAYBURN HORNSBY, et al.,                             )
                                                     )
        Defendants.                                  )

             DEFENDANTS’ EVIDENTIARY MATERIALS IN SUPPORT OF
                     MOTION FOR SUMMARY JUDGMENT

        COME NOW Defendants Rayburn Hornsby, Johnny Harris, and Stan Carlton (hereinafter

“the ALDOT Defendants”), only, by and through their undersigned counsel, and file the

following evidentiary materials in support of their Motion for Summary Judgment, filed

contemporaneously herewith:

                                  ALDOT DEFENDANTS’
                                      EXHIBITS

        1.     Computer screen reflecting C & J Associates as a woman-owned small minority
               partnership with two employees;
        2.     Invitation To Bid number 03-X-2130153;
        3.     Employment Application, dated November 20, 2002, signed by Janice Duncan;
        4.     Janice Duncan’s Employee Performance Appraisal (Preappraisal) for the period
               of 11/01/2004 to 11/01/2005;
        5.     Handbook Receipt and Acknowledgement of ALDOT’s Principles of Business
               Conduct signed by Janice Duncan on May 15, 2003;
        6.     Memo to Alex Jackson from Stan Carlton dated February 15, 2006, with
               attachments;
        7.     Invitation To Bid No. 03-x-2132146;
        8.     Invitation To Bid No. 03-x-2132146 with inscription, “No Bid Protest”;
        9.     Invitation To Bid No. 03-x-2132146 submitted by Terminix International;
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       10.    Invitation To Bid No. 03-x-2130174;
       11.    Documents from ITB No. 98-x-2060676;
       12.    Deposition of Curtis Duncan;
       13.    Deposition of Janice Duncan;
       14.    Affidavit of Stan Carlton, with attachments.

                                             RESPECTFULLY SUBMITTED
                                             TROY KING
                                             ATTORNEY GENERAL

                                             s/ Harry A. Lyles
                                             Jim R. Ippolito, Jr. (IPP001)
                                             Assistant Attorney General
                                             Chief Counsel

                                             Harry A. Lyles (LYL001)
                                             Assistant Attorney General
                                             Assistant Counsel

ADDRESS OF COUNSEL:
State of Alabama Department of Transportation
1409 Coliseum Boulevard
Montgomery, Alabama 36110
Telephone: (334) 242-6350
Facsimile: (334) 264-4359




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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           MIDDLE DISTRICT OF ALABAMA
                                NORTHERN DIVISION

C&J ASSOCIATES PEST CONTROL, et al.,                  )
                                                      )
        Plaintiffs,                                   )
v.                                                    )
                                                          CASE NO. 2:05-cv-557-WHA
                                                      )
RAYBURN HORNSBY, et al.,                              )
                                                      )
        Defendants.                                   )

                                 CERTIFICATE OF SERVICE

        I hereby certify that, on July 31, 2006, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECT system, which will send notification to the following:

                                   Mr. Jeffery H. Long, Esq.
                                   Attorney General's Office
                                       11 South Union St
                                  Montgomery, Alabama 36130
                                ATTORNEY FOR DEFENDANTS

        I also certify that, on this same date, I have served the foregoing on the following by

placing copies thereof, addressed to them as indicated below, in United States mail, First Class

Postage prepaid:

                                      Mr. Curtis Duncan
                                      Ms. Janice Duncan
                                  C&J Associates Pest Control
                                        P.O. Box 8186
                                  Montgomery, Alabama 36110
                                    PLAINTIFFS PRO SE

                                               s/ Harry A. Lyles
                                               Harry A. Lyles (LYL001)
                                               Assistant Attorney General
                                               Assistant Counsel




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